        Case 3:20-cv-00254-DPM Document 5 Filed 11/05/20 Page 1 of 1




            IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                     NORTHERN DIVISION

MORGAN HANUSOWSKI
#556211                                                       PLAINTIFF

v.                        No. 3:20-cv-254-DPM

KARA BLACK, Head Nurse, Craighead
County Detention Center                                    DEFENDANT

                                 ORDER
     Unopposed recommendation, Doc. 4, adopted.               FED.     R. CIV.
P. 72(b) (1983 addition to advisory committee notes). Hanusowski's
complaint, Doc. 2, will be dismissed without prejudice for failure to
state a claim.   This dismissal counts as a "strike" for purposes of
28 U.S.C. § 1915(g). An in forma pauperis appeal from this Order and
accompanying Judgment would not be taken in good faith. 28 U.S.C.
§ 1915(a)(3).

     So Ordered.




                                   D.P. Marshall Jr.
                                   United States District Judge
